     Case 1:23-cv-03621-SCJ Document 76 Filed 09/11/23 Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


THE STATE OF GEORGIA,

                                                    CIVIL ACTION FILE
v.
                                                   No. 1:23-CV-03621-SCJ
MARK RANDALL MEADOWS,
                                              RE: NOTICE OF REMOVAL OF
                                              FULTON COUNTY SUPERIOR
     Defendant.                                COURT INDICTMENT NO.
                                                      23SC188947

                                        ORDER

       This matter appears before the Court on Defendant Mark R. Meadows’s

Emergency Motion for Stay Pending Appeal (Doc. No. [74]). In the exercise of the

Court’s discretion, the Court orders expedited briefing. To this regard, the State

shall file a response brief by 12 p.m., September 12, 2023.

       IT IS SO ORDERED this 11th day of September, 2023.


                                      ________________________________
                                      HONORABLE STEVE C. JONES
                                      UNITED STATES DISTRICT JUDGE
